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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                 DELTA DIVISION


UNITED STATES OF AMERICA


VERSUS                                               CRIMINAL ACTION NO. 2:05CR111-P-B


LESA WALKER LESURE
and NIKITA MICHELLE LESURE


                                              ORDER

       This cause is before the Court on defendant Lesa Lesure’s Motion for Continuance of Trial

[21]. The Court, having reviewed the motion and being otherwise fully advised in the premises,

finds as follows, to-wit:

       The trial of this matter is currently set for November 28, 2005. Counsel for defendant seeks

a continuance to permit him an adequate opportunity to review discovery and to prepare a defense.

The government does not oppose the defendant’s request. Based on the foregoing, the Court finds

that the defendant’s Motion for Continuance is well-taken and should be granted.

       The above circumstances enable the Court to exclude, pursuant to 18 U.S.C. § 3161(h)(8)(A),

the period of delay from November 28, 2005 until the new trial date to be set in this matter. The

time is excludable under subsection (h)(8)(A) because, given the circumstances described above, a

continuance is necessary to afford defendants additional time to investigate and prepare their defense

to the charges at issue. Therefore, the ends of justice served by the granting of this continuance

outweigh the best interests of the public and the defendants in a speedy trial.

       IT IS, THEREFORE, ORDERED AND ADJUDGED that
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 1.    The defendant’s Motion for Continuance [21] is GRANTED;

 2.    That the trial of this matter is continued as to all defendants until Tuesday, January

       3, 2006 at 9:00 a.m. in the United States District Courthouse in Greenville,

       Mississippi;

 3.    That the delay from November 28, 2005 until January 3, 2006, is excluded as set out

       above;

 4.    That the deadline for filing pretrial motions is December 12, 2005;

 5.    That the deadline for submitting a plea agreement is December 19, 2005.

 SO ORDERED, this the 2nd day of November, 2005.


                                              /s/ W. Allen Pepper, Jr.
                                              W. ALLEN PEPPER, JR.
                                              UNITED STATES DISTRICT JUDGE
